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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
UNITED STATES OF AMERICA               :                   20cr388(DLC)
                                       :
                -v-                    :                       ORDER
                                       :
VLADIMIR REYES,                        :
                                       :
                         Defendant.    :
                                       :
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DENISE COTE, District Judge:

       Vladimir Reyes has moved to suppress evidence seized from

him and a pretrial identification of his picture in a photo

array.    His motion is denied.1

       On July 30, 2020, Reyes was indicted for conspiring to

distribute or to possess with intent to distribute 500 grams or

more of cocaine in violation of 21 U.S.C. § 846.            Trial is

scheduled to begin on February 24, 2021.          On January 8, Reyes

filed a motion to suppress.        The Government opposed the motion

on January 15, and Reyes replied on January 20.            Each of the

three sections of the Reyes motion is addressed in turn.

    1. Photo Array

       Reyes has moved to suppress Victim 1’s pretrial

identification of Reyes’ photograph.          According to the

Government, Victim 1 acted as a broker for the seller of



1   The defendant’s motion for return of property is also denied.
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cocaine.    Reyes was the buyer.     After the cocaine was delivered

to Reyes, the seller learned that instead of being paid $34,000

for the drugs, he was paid only $1,500 or so.          Victim 1 was

kidnapped as part of an effort to recover either the drugs or

the full payment.     The seller took Victim 1’s cellphone from

him.    After escaping, Victim 1 contacted the police.         When the

seller was arrested about a week later, he had Victim 1’s

cellphone.    On February 10, 2020, which was about eight months

after the kidnapping, Victim 1 selected Reyes’ photograph from a

photospread containing 6 photographs of similar looking males.

       Reyes contends that the identification should be suppressed

because Victim 1 had been exchanging a photograph of Reyes with

the seller, and it was unduly suggestive to include in the

photospread a photo that was digitally matched to the very one

Victim 1 had been exchanging.       As the Government’s opposition

explains, this prong of the defendant’s motion is premised on a

false assumption.     It explains that the Reyes photograph was

exchanged between the seller and a family member and not with

Victim 1.

       The Government provides a detailed factual response to

Reyes’s assertion that Victim 1 had previously seen a photograph

of Reyes similar to that used in the photospread.           The defendant

has not presented any evidence to raise a question of fact

regarding the Government’s response.         His general assertions


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about the integrity of the Government’s investigation do not

require suppression of the identification or raise a question of

fact that requires a hearing.

  2. August 5, 2020 Seizures

     On August 5, 2020, following his indictment, Reyes was

arrested at his home pursuant to an arrest warrant.           Reyes moves

to suppress an iPhone, jewelry, and $1,700 in cash seized at

that time.    He argues that there was no probable cause to seize

these items since there was no evidence that they were related

to the crime for which Reyes had been indicted.

     When law enforcement agents entered Reyes’ apartment on

August 5 to arrest him pursuant to the arrest warrant, they

found him sleeping on a mattress on the floor in the living

room.   In plain view near the mattress were .49 kilograms of

marijuana, articles of jewelry, and a cellphone.           As the

Government explains in its opposition to this motion, these

items were properly seized under the plain view doctrine.

United States v. Babilonia, 854 F.3d 163, 179–80 (2d Cir. 2017).

Law enforcement officers then obtained a search warrant and

discovered and seized 1.3 kilograms of marijuana and $1,700 in

cash.

     In his reply, Reyes abandons his argument that the items

found in plain view were not properly seized.          There is no need

for a further discussion of this prong of the motion.


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    3. Search Warrant for iPhone

      As noted, after arresting Reyes on August 5, the officers

obtained a search warrant for the apartment.         That same search

warrant also authorized a search of the Reyes’ cellphone seized

during his arrest.2    Reyes contends that search of his iPhone

must be suppressed since the warrant obtained to search his

cellphone was based solely on a “single suspect boarding pass”.3

He contends that the boarding pass constitutes a “false

statement”.   Reyes’ affidavit states: "On this trip to San

Francisco I did not use a physical, printed boarding pass, for

either the outbound or inbound flights."

      The search warrant’s affidavit described the marijuana

discovered in plain view at the time Reyes was arrested and also

described events from January 2020.       In January 2020, Reyes and

another person were stopped at JFK after having travelled from

San Francisco to New York.      At JFK, approximately 46 pounds of

marijuana and Reyes’ boarding pass were discovered inside three


2 No search has yet been made of the cellphone since it is
protected by a passcode.
3 In his reply Reyes argues for the first time that the affidavit
was too conclusory in describing the .49 kilograms of marijuana
as a “distribution” quantity. The affidavit included a picture
of the bag of marijuana and a description of it as “a large bag
of marijuana in plain view.” It adds: “Based on my training and
experience in the investigation of narcotics trafficking, I
believe that bag contains a distribution quantity of marijuana.”
There is no fair basis to conclude that the affidavit was either
conclusory or misleading.


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suitcases and $20,000 in cash was discovered in Reyes’s carry-on

bags.    In describing the boarding pass, the affiant relied on an

incident report prepared by a Homeland Security officer.             That

report stated: “Inside one of the 3 suitcases containing

marijuana was the boarding pass of Vladimir REYES from his

outbound JFK to SFO flight on January 16, 2020.”            The affidavit

provided probable cause for the search of the iPhone, and its

description of the boarding pass was based on reliable

information.

     In his reply, Reyes abandons his argument that the

description of the boarding pass was a false statement.             There

is no need for a further discussion of this prong of the motion.

                                 Conclusion

     Reyes’ January 8 motion to suppress is denied.



Dated:       New York, New York
             January 28, 2021




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